	NO. 07-11-0180-CR

	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL D

	SEPTEMBER 1, 2011
	______________________________

	HAROLD DEAN OSBORN,

		Appellant

	v.

	THE STATE OF TEXAS, 

		Appellee
                        _______________________________
                                       
	FROM THE 47TH DISTRICT COURT OF RANDALL COUNTY;

	NO. 15,038-A; HON. DAN SCHAAP, PRESIDING
	_______________________________
	
	On Motion to Dismiss
	_______________________________

Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

Appellant Harold Dean Osborn, by and through his attorney, has filed a motion to dismiss his appeal, signed by appellant, because he no longer desires to prosecute it.  Without passing on the merits of the case, we grant the motion to dismiss pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal.  Having dismissed the appeal at appellants request, no motion for rehearing will be entertained, and our mandate will issue forthwith.

Do not publish.					Per Curiam		          
